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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION




UNITED STATES OF AMERICA


     V.                                                   OR 113-010


ANGELA WILLINGHAM




                                     ORDER




     Defendant         Angela      Willingham           seeks    relief      under   the

"compassionate release" provision of 18 U.S.C. § 3582(c)(1)(A).

The government opposes the motion.                      Upon due consideration, the

Court denies Willingham's request for relief.

     Willingham         pled    guilty       to     conspiracy        to   defraud   the

government, two counts of misuse of health identifiers to file

fraudulent      tax    returns,    and   two      counts    of   aggravated    identity

theft.     On June 18, 2014, she was sentenced to serve a total term

of imprisonment of 170 months.               Her convictions and sentence were

affirmed    on    appeal.       Willingham         is    currently    incarcerated    at

Coleman Low FCI in Coleman, Florida with an expected release date

of June 2, 2025.

     The    compassionate         release         provision      of   §    3582(c)(1)(A)

provides    a    narrow   path    for    a   defendant in "extraordinary             and

compelling circumstances" to leave prison early upon consideration
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of the factors set forth in 18 U.S.C. § 3553(a) so long as such

reduction is ^^consistent with applicable policy statements issued

by   the    [United    States]      Sentencing       Commission.''       18   U.S.C. §

3582(c)(1)(A).             Congress     did    not     define    what     constitutes

"extraordinary and compelling circumstances" other than to express

that "[r]ehabilitation of the defendant alone" is insufficient.

See 28 U.S.C. § 994(t).           Rather, Congress instructed the Sentencing

Commission to promulgate the "criteria to be applied and a list of

specific examples" of extraordinary and compelling reasons.                        Id.

       The existing policy statement of the Sentencing Commission,

adopted before passage of the First Step Act of 2018, provides

that in addition to the existence of extraordinary and compelling

reasons, the defendant must not present a danger to the safety of

any other      person      or the     community.          U.S.S.G. § 1B1.13.        The

application notes to this policy statement list three specific

examples     of     extraordinary      and    compelling      reasons    to   consider

reduction     of a    defendant's sentence           under § 3582(c)(1)(A):         (1)

medical condition; (2) advanced age; and (3) family circumstances.

Id. n.1(A)-(C).            Willingham concedes that she does meet any of

these criteria.           The application note also provides a catch-all

category: "As determined by the Director of the Bureau of Prisons,

there      exists    in     the   defendant's      case     an   extraordinary      and

compelling        reason    other     than,   or     in    combination    with,"    the

aforementioned three categories.               Id. n.l(D) (emphasis added).
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        Indeed, prior to the First Step Act, § 3582(c)(1)(A) provided

that only the Director of the Bureau of Prisons ('"BOP") could bring

a motion for compassionate release.                     However, Section 603(b) of

the First Step Act, titled ''Increasing the Use and Transparency of

Compassionate        Release,"        amended      §    3582(c)(1)(A)       to   permit   a

defendant to bring a motion for compassionate release after either

exhausting administrative rights to appeal the BOP's failure to

bring     such   a    motion    or    the   passage       of    thirty   days     from   the

defendant's unanswered request to the warden for such relief.                             18

U.S.C. § 3582(c)(1)(A).              Through her motion, Willingham contends

that     the     First   Step        Act    also       expanded    the    criteria       for

"extraordinary and compelling" circumstances; more specifically,

she contends that the First Step Act now allows a district court

to determine whether extraordinary and compelling reasons exist

outside of the three enumerated examples in U.S.S.G. § IBI.13 and

independent of the BOP's determination.

        Willingham's contention is not without support.                      In at least

four judicial districts, courts have determined that the First

Step Act signaled an intent from Congress that district courts may

now    consider      whether    extraordinary           and    compelling    reasons     for

compassionate         release      exist    other       than     those   delineated       in

U.S.S.G. § 1B1.13 n.l.             See United States v. Brown,                    F. Supp.

3d       , 2019 WL 4942051, *4 (S.D. Iowa Oct. 8, 2019) (holding that

the    district      court   now     assumes    the     same   discretion    as    the   BOP
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Director when it considers a compassionate release motion); United

States V. Fox, 2019 WL 3046086, at *3 (D. Me. July 11, 2019)

treat the previous BOP discretion to identify other extraordinary

and compelling reasons as assigned now to the courts."); United

States V. Beck, 2019 WL 2716505 (M.D.N.C. June 28, 2019); United

States V. Cantu, 2019 WL 2498923 (S.D. Tex. June 17, 2019).                      These

courts have held that the policy statement of U.S.S.G. § 1B1.13 is

simply outdated because it assumes that compassionate release may

only be granted upon motions by the Director of the BOP.                             See,

e.g.. Beck, 2019 WL 2716505, at *5 (''There is no policy statement

applicable    to     motions      for       compassionate        release   filed       by

defendants under the First Step Act.").

     These cases, however, rest upon a faulty premise that the

First Step Act somehow rendered the Sentencing Commission's policy

statement    an      inappropriate          expression      of       policy.         This

interpretation, and it appears to be an interpretation gleaned

primarily from the salutary purpose expressed                        in the title      of

Section    603(b)     of    the     First    Step    Act,     contravenes      express

Congressional      intent    that     the    Sentencing     Commission,        not    the

judiciary, determine what constitutes an appropriate use of the

"compassionate       release"     provision.         See    28    U.S.C.   §   944(t).

Indeed, § 3582(c)(1)(A) as amended by the First Step Act still

requires    courts    to    abide    by     policy   statements       issued   by     the

Sentencing    Commission.             See      18    U.S.C.      §     3582(c)(1)(A).
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Accordingly,       this    Court     will    follow       the   policy   statement       in

U.S.S.G. § 1B1.13 and deny Willingham's motion because she does

not meet the specific examples of extraordinary and compelling

reasons   and      the    Director    of    the     BOP   has   not    determined      that

circumstances outside of these examples exist to afford her relief.

Accord, e.g.. United States v. Lynn, 2019 WL 3805349, at *4 {S.D.

Ala. Aug. 12, 2019) ("If the policy statement needs tweaking in

light of Section 603(b) [of the First Step Act], that tweaking

must be accomplished by the [Sentencing] Commission, not by the

courts."); United States v. Johns, 2019 WL 2646663 (D. Ariz. June

28, 2019); United States v. Gross, 2019 WL 2437463 (E.D. Wash.

June 11, 2019); United States v. Heromin, 2019 WL 2411311 (M.D.

Fla.   June   7,    2019); United          States    v.   Willis,     2019   WL   2403192

(D.N.M. June 7, 2019); United States v. Shields, 2019 WL 2359231

(N.D. Calif. June 4, 2019) (stating that there is no ''authority

for the proposition that the Court may disregard guidance provided

by the Sentencing Commission where it appears that such guidance

has not kept pace with statutory amendments").

       Importantly, even if the Court were to conclude that the First

Step Act granted it the discretion to consider what constitutes

extraordinary        and    compelling        circumstances           outside     of    the

Sentencing Commission's policy statement, Willingham would not be

entitled to relief.           Willingham proffers three reasons that her

sentence should be reduced.           First, she expresses that her sentence
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is   too   harsh,     especially    as    compared     to    that   of   defendants

convicted of violent offenses.            Second, she argues her sentence is

extraordinary        given   the   projected    cost   of     her   incarceration.

Finally, Willingham points to her record of rehabilitation as one

of an extraordinary character.           The totality of these circumstances

does    not   even    move   the   needle     toward   the     extraordinary     and

compelling circumstances that must exist before the Court should

grant compassionate release.           The fact remains that Willingham was

fairly and appropriately sentenced under the advisory sentencing

guidelines, a sentence that was affirmed by the Eleventh Circuit

Court of Appeals.       This attempt to relitigate the propriety of her

sentence      under    the   auspice     of   "compassionate        release"   falls

completely flat.

        Upon the foregoing. Defendant Angela Willingham's motion for

compassionate release (doc. 649) is hereby DENIED.

       ORDER ENTERED at Augusta, Georgia, this                      ay of December,

2019.




                                              J.'^-RANTOL HALL, CHIEF JUDGE
                                              UNIT^ STATES DISTRICT COURT
                                                  'HERN     DISTRICT OF GEORGIA
